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November 16, 2022


Hon. Brenda K. Sannes
United States District Court
Northern District of New York
100 South Clinton Street                             via CM/ECF
Syracuse, New York 13261

Re:     Nadine Gazzola, et al. v. Gov. Kathleen Hochul, et al.
        Case No. 1:22-cv-1134 (BKS/DJS)


To the Hon. Brenda K. Sannes:

This letter communicates my preference to use an enlarged chart during oral arguments, as
enclosed. I communicated the same to Ms. Cowan and Mr. Mulvaney on November 28, 2022
with a copy of the chart, but received an objection that it would add to the Record. I did
communicate my perspective that it summarized our case. I do a fair amount of public speaking
and find, including in courtrooms, that a simple visual aid assists comprehension once there are
more than a handful of variables. The schemata is a reflection of the Record, nothing more.

As I also wrote to Counsel, I reviewed slowly over the weekend and concur with Ms. Cowan’s
answering document that (1.) I had a persistent typographical error in one statute provision (that
my NY Gen Bus §875-g(b)(1) should be §875-g(1)(b)). I also concur that (2.) there is a
duplicate listing of that statute in the Motion Group B (need only be Group A). The additional
housekeeping are: (3.) Complaint [Dkt. 1, start at p. 15] should include Group A’s NY Gen Bus
§875-b against changes in shipping protocols; and, (4.) Motion [Dkt. 13, start at p. 2] should
include Group C’s NY Gen Bus §875-h against such additional rules and regulations. The
substance of all documents consistently speaks to the entirety of the statutes challenged.

Does the Court wish to advise or inform on the question of using a chart during oral arguments?

Respectfully submitted,
Paloma A. Capanna
Paloma A. Capanna


c.: Aimee Cowan, Esq., NYS Office of the Attorney General (via CM/ECF)
    Timothy Mulvaney, Esq., NYS Office of the Attorney General (via CM/ECF)
Schemata of Case – Gazzola v. Hochul

               Bill S.9407-B (eff. June 30, 2022)
 Defendants
               Bill S.9458 (eff. August 30, 2022)
 §1983
               Bill S.4970-A (eff., generally, June 30, 2022)
 §1985(3)
               Bill S.51001 (eff., generally, September 1, 2022)
                           Lead as FFL                         Lead as individuals,             Lead as business owner,                 “To Keep”
                                                               as business owners,                       as FFL,
                                                                                                                                      - only civil right
                                                                      as FFLs                         as individual                      dependent
                                                                                                                                      upon an object
                                                                                                                                        - essential
                            GROUP A                                 GROUP B                                GROUP C                      industry to
               Gen Bus §875-b – shipping               Pen §400.00(1) and §400.00(19),      Gen Bus §875-b(1) – “security plan”        fundamental
               Gen Bus §875-b(2) – third party         read with Exec §837(23)(a) and       Gen Bus §875-b(2) – “security alarm            right
               vendor for “security alarm system”      Pen §265.20(3-a) – standardized      system” with third party vendor,
                                                       curriculum, testing by NYSP/DCJS*    camera placement, video recording
                                                                                            with feed storage
               Gen Bus §875-f – A&D record             Pen §400.00(2), (3), (6), (7)-(9),   Gen Bus §875-c – prohibition entry
 Defendants    transfer                                (14), read with Pen §265.65 and      persons under 18 w/o parent/legal
 §1983                                                 §265.66 – SAR license*               guardian*
 §1985(3)
               Gen Bus §875-f(1)-(4) – record          Pen §400.02(2) – ammunition          Gen Bus §875-e – employee training by
               storage                                 background check*                    NYSP + records
               Gen Bus §875-f(3) – forced access to                                         Gen Bus §875-e(3) – no employees
               inventory records by NYSP/3P/Manu                                            under 21 years*
               Gen Bus §875-g(1)(b) – annual                                                Gen Bus §875-f(2) – monthly reports to
               compliance certificate**                                                     NYSP
               Pen §400.02(2) – ammunition                                                  Gen Bus §875-g(2) – “full access” to
               background check using NICS                                                  dealer premises by NYSP
               Exec §228 – transfer NICS to NYSP                                            Gen Bus §875-h – such additional
                                                                                            Pen §270.22, read with Exec §144-a –
                                                                                            body vest sale restriction (exemptions)
                                                                                            Pen §400.03(2) – ammunition sale
                                                                                            records
                                                                                                                                                           Case 1:22-cv-01134-BKS-DJS Document 35 Filed 11/30/22 Page 2 of 2




                • Federal pre-emption (black             • *2A & 14A, NYSRPA v. Bruen         • 5A & 14A Void-for-Vagueness
                  letter)
                • Federal pre-emption (spirit of)        • 5A & 14A Void-for-Vagueness       • Constitutional regulatory
                                                                                               overburden, 2A & 14A
                • Else, analyze with Group C                                                 • *2A & 14A, NYSRPA v. Bruen
                • **5A
